Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 1 of 9 Page ID #:379




                              UNITED STATES DISTRICT COURT                                JS-6
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES—GENERAL

Case No.      CV 19-10550-DMG (Ex)                                           Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.                     Page     1 of 9

Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

              KANE TIEN                                                      NOT REPORTED
              Deputy Clerk                                                    Court Reporter

    Attorneys Present for Plaintiff(s)                             Attorneys Present for Defendant(s)
             None Present                                                    None Present

Proceedings: IN CHAMBERS - ORDER RE PLAINTIFF’S MOTION FOR
             PRELIMINARY INJUNCTION [3]

                                                 I.
                                            BACKGROUND

        This matter is before the Court on Plaintiff DriveWealth LLC’s Motion for a Preliminary
Injunction (“MPI”). [Doc. # 3.] Plaintiff seeks to prevent Defendants from violating the terms
of an agreement between Plaintiff and Defendant Electronic Transaction Clearing, Inc. (“ETC”)
during the pendency of FINRA arbitration between the parties. See Notice of Motion at 1 [Doc.
# 3]. The Court granted Plaintiff’s request for a Temporary Restraining Order on December 13,
2019. [Doc. # 8 (“TRO”).] Defendants ETC, Apex Clearing, Inc., and PEAK6 Investments,
LLC have opposed Plaintiff’s MPI. [Doc. ## 12 (“Opp.”), 15 (construing Defendants’ ex parte
application to vacate the TRO as an opposition to the MPI).]

        Plaintiff is a clearing firm and broker-dealer that provides a platform for securities
trading. Bulger Decl. at ¶ 8 [Doc. # 3-7]. In November 2017, Plaintiff entered into an Omnibus
Clearing Agreement (“2017 OCA”) with ETC whereby ETC agreed to act as Plaintiff’s
Depository Trust and Clearing Custodian (“DTC Custodian”).1 Plaintiff fully transitioned its
business to ETC in May 2018. Id. at ¶ 16. In March 2019, Plaintiff and ETC began
renegotiating the OCA and executed a finalized OCA in August 2019. Id. at ¶ 19, Ex. 3 (“2019
OCA”). The 2019 OCA included an agreed-upon pricing schedule for various fees. Id. at ¶ 20,
Ex. 4. It also included the following provision:




        1
           A DTC Custodian is “necessary to hold the securities that are traded, and DriveWealth maintains an
account with such DTC Custodian on an omnibus basis. Without the services of a DTC Custodian, the buy and sell
orders placed by [the end-user customers of DriveWealth’s customers] would not be executed or completed, and
DriveWealth could not conduct its business.” Bulger Decl. at ¶ 13.

CV-90                                 CIVIL MINUTES—GENERAL                         Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 2 of 9 Page ID #:380




                            UNITED STATES DISTRICT COURT                           JS-6
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

Case No.     CV 19-10550-DMG (Ex)                                     Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.              Page     2 of 9

           (a) The parties agree that this Agreement shall be in force for a period of
           twelve (12) months from the Effective Date ("Contract Period") and that
           there shall be no change in the pricing schedule referred to in Paragraph 3
           herein. Thereafter, the Agreement shall automatically renew for a
           subsequent Contract Period, unless terminated pursuant to the terms of
           section 13(b) below.

           (b) This Agreement may be terminated by either party, without cause, upon
           sixty (60) days' written notice to the other party, prior to the expiration of
           the then current Contract Period. Should Introducing Broker fail to provide
           timely notice, Introducing Broker may thereafter terminate this Agreement
           at any time during the Contract Period, but agrees that it shall be liable and
           will pay to ETC all agreed upon minimums for the remainder of the
           Contract Period.

Id. at ¶ 21, Ex. 3 at § 13 (“Section 13”).

        On September 9, 2019, PEAK6 acquired ETC and brought it under the control of Apex, a
PEAK6 subsidiary and a direct competitor of Plaintiff. Id. at ¶¶ 22, 23 Ex. 5. Three days later,
Apex’s CEO contacted Plaintiff’s CEO and asked Plaintiff to agree to “huge . . . fee increases”
associated with Plaintiff’s relationship with ETC despite the fact that Plaintiff and ETC had
agreed to a mutually-negotiated fee schedule weeks earlier. Id. at ¶ 24, Ex. 6. Defendants
contend that these increases merely brought the parties’ arrangement “in line with industry
standards.” Brennan Decl. at ¶ 24 [Doc. # 11-1]. After Plaintiff rejected the fee increases,
Apex’s CEO threatened to terminate the 2019 OCA if Plaintiff did not agree to the increases.
Bulger Decl. at ¶ 26, Ex. 8. ETC’s president then sent an email on October 1, 2019 purporting to
terminate the 2019 OCA and stating that the new fees would go into effect in 60 days. Id. at ¶
27, Ex. 9.

        After weeks of negotiating over a solution to the parties’ disagreement concerning the fee
increases, Plaintiff informed Defendants in mid-November 2019 that “DriveWealth would
transition its clearing business to Citibank, N.A.” Id. at ¶ 30. Defendants characterize this
period of time as Plaintiff “d[oing] little to transition its account from ETC.” Opp. at 8. In
response, ETC acknowledged that “de-conversions” (or transitions from one clearing firm to
another) “take time and effort,” but nonetheless informed Plaintiff on November 27, 2019 that
Defendants would “take steps to disrupt DriveWealth and its customers if the conversion is not




CV-90                               CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 3 of 9 Page ID #:381




                                UNITED STATES DISTRICT COURT                                    JS-6
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

Case No.       CV 19-10550-DMG (Ex)                                                Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.                           Page      3 of 9

completed by December 13, 2019,” nine business days later.2 Bulger Decl. at ¶¶ 31, 32, Exs. 11,
12. Defendants characterize this email as an attempt to “be cooperative and avoid impacting end
customers” by accommodating Plaintiff’s account activity until December 13 so long as Plaintiff
did not increase its account’s assets. Brennan Decl. at ¶ 34.

       Plaintiff took the position that the 2019 OCA did not give Defendants the right to
terminate the agreement on such an expedited schedule, but nevertheless proposed a three-to-six-
month contract at Defendants’ proposed fee rates “in an effort to protect itself and its customers.”
Bulger Decl. at ¶ 35. Defendants rejected that offer, demanded a one-year contract, and
advanced its December 13 deadline to December 11, 2019. Id. at ¶¶ 25, 26, Exs. 14, 15.

        Plaintiff then sought recourse from the Supreme Court of the State of New York, which
issued a TRO on December 10, 2019. See New York TRO [Doc. # 3-3.] That Order stated that:

             pending the hearing in the State or Federal Court in Los Angeles, California
             on this order to show cause, Respondents, and all those acting in active
             concert with them, directly or indirectly, shall be enjoined from taking any
             action during the pendency of the Arbitration that would otherwise interfere
             with Petitioner’s right to continue to conduct its business and to obtain
             services under the August 2019 OCA in the same manner and at the same
             fees as it has done since the inception of the August 2019 OCA. This
             paragraph shall expire on 12/16/19 at 11:00pm, EST unless extended by
             order of the California Court.3

New York TRO. This Court issued a TRO on December 13, 2019 that enjoined Defendants from
taking such action until the December 23, 2019 hearing on the instant request for a preliminary
injunction.




         2
          Defendants now claim that deconverting Plaintiff’s account should have been “relatively straightforward”
and imply that it would not take a significant amount of time. Brennan Decl. at ¶ 31.
          3
            Defendants assert that the New York court did not consider the merits of the case because the 2019 OCA
has a California forum selection clause. Opp. at 10. They argue that the court instead granted short-term interim
relief so that Plaintiff could file this action in the correct forum. Id. That may be true, but it does not change the
impact of that court’s decision, which prevented Defendants from taking action until this Court rules on interim
relief.

CV-90                                    CIVIL MINUTES—GENERAL                            Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 4 of 9 Page ID #:382




                            UNITED STATES DISTRICT COURT                            JS-6
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

Case No.     CV 19-10550-DMG (Ex)                                      Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.               Page     4 of 9

                                             II.
                                      LEGAL STANDARD

        Federal Rule of Civil Procedure 65 governs the issuance of TROs and preliminary
injunctions, and courts apply the same standard to both. See Credit Bureau Connection, Inc. v.
Pardini, 726 F. Supp. 2d 1107, 1114 (E.D. Cal. 2010) (citing Ne. Ohio Coal. for the Homeless v.
Blackwell, 467 F.3d 999, 1009 (6th Cir. 2006)). Plaintiffs seeking injunctive relief must show
that: (1) they are likely to succeed on the merits; (2) they are likely to suffer irreparable harm in
the absence of preliminary relief; (3) the balance of equities tips in their favor; and (4) an
injunction is in the public interest. Toyo Tire Holdings of Ams. Inc. v. Cont’l Tire N. Am., Inc.,
609 F.3d 975, 982 (9th Cir. 2010) (citing Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7
(2008)). An injunction is also appropriate when a plaintiff raises “serious questions going to the
merits,” demonstrates that “the balance of hardships tips sharply in the plaintiff’s favor,” and
“shows that there is a likelihood of irreparable injury and that the injunction is in the public
interest.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011) (quoting
The Lands Council v. McNair, 537 F.3d 981, 987 (9th Cir. 2008)).

                                              III.
                                          DISCUSSION

A.      Likelihood of Success on the Merits

        As Defendants point out, the “[l]ikelihood of success on the merits is the most important
factor” in the preliminary injunction analysis. California v. Azar, 911 F.3d 558, 575 (9th Cir.
2018), cert. denied sub nom. Little Sisters of the Poor Jeanne Jugan Residence v. California, 139
S. Ct. 2716 (2019). It appears that the parties’ dispute boils down to whether the 2019 OCA
permits ETC to terminate the parties’ relationship, increase fees, and impose account restrictions.
The Court concludes that Plaintiff, at the very least, raises serious questions going to the merits
of whether the 2019 OCA permits such behavior.

        Defendants’ contentions to the contrary are as follows: (1) ETC successfully terminated
the 2019 OCA through the October 1, 2019 email; and (2) even if the 2019 OCA remained
effective, it permitted ETC to act as it did. Neither argument is sufficiently persuasive to
eliminate all serious questions about this inquiry.

        Defendants employ some creative contract interpretation to argue that the October 1
termination email was consistent with Section 13, but the 2019 OCA itself belies that position. It
is black letter law that “[c]ontract terms are to be given their ordinary meaning, and whenever

CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 5 of 9 Page ID #:383




                                UNITED STATES DISTRICT COURT                                    JS-6
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

Case No.       CV 19-10550-DMG (Ex)                                               Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.                          Page     5 of 9

possible, the plain language of the contract should be considered first.” Starrag v. Maersk, Inc.,
486 F.3d 607, 616 (9th Cir. 2007) (internal quotations and brackets omitted). Defendants focus
on Section 13(b)’s language that “[t]his Agreement may be terminated by either party, without
cause, upon sixty (60) days’ written notice to the other party, prior to the expiration of the then
current Contract Period.” Opp. at 13 (citing Section 13(b)). The Court cannot look at Section
13(b) in a vacuum, however, because Defendants’ argument ignores the preceding language in
Section 13(a). That section plainly states that the “Agreement shall be in force for a period of
twelve (12) months from the Effective Date ("Contract Period") and that there shall be no change
in the pricing schedule” upon which ETC and Plaintiff agreed. Section 13(a) (emphasis added).
Only “[t]hereafter” does the 2019 OCA renew for a “subsequent Contract Period, unless” a party
terminates “pursuant to the terms of section 13(b).” Id. (emphasis added). In other words,
Plaintiff and ETC agreed in August 2019 not to change the pricing schedule for a period of 12
months. They also agreed that either party could terminate the subsequent contract period with
60 days advance notice pursuant to Section 13(b). Defendants’ dissection of Section 13(b)’s
language does nothing to explain away Section 13(a)’s 12-month freeze on the parties’ pricing
schedule. See Opp. at 13 (arguing that the comma between “party” and “prior” in Section 13(b)
permits ETC to terminate the 2019 OCA at any time that is at least 60 days prior to the end of the
Contract Period).

        Defendants’ interpretation of Section 13(b) would render the 12-month pricing schedule
in Section 13(a) a nullity. Taken to its logical extreme, Defendants could pull the rug out from
under the 12-month pricing schedule the day after it became effective by giving notice of its
termination of the contract. This would be an absurd result for a commercial contract. Roden v.
AmerisourceBergen Corp., 186 Cal. App. 4th 620, 651 (2010) (“[W]e must interpret a contract in
a manner that is reasonable and does not lead to an absurd result.”); Hillman v. Leland E. Burns,
Inc., 209 Cal. App. 3d 860, 868 (1989) (“We reject this argument because it also would lead to
an absurd result, which is to be avoided in the interpretation of the contract.”).4

       Defendants’ reliance on Section 13(h) fares no better. That section states that if Plaintiff
“terminates this Agreement pursuant to subparagraph (b) above within the first Contract Period,
or ETC terminates this Agreement pursuant to subparagraph (c) or (d) above, [Plaintiff] will pay
to ETC a termination fee equal to all agreed upon minimums that would have been due to ETC
for the remainder of the Contract Period. Section 13(h). That language, however, does not
control this dispute. Plaintiff did not terminate the agreement, so Section 13(h)’s first clause
does not apply. ETC purports to have terminated the agreement, but it did not do so under

        4
           The 2019 OCA contains a choice of law provision that requires the Court to apply California law to all
disputes arising out of the agreement. See 2019 OCA at § 14(D).

CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 6 of 9 Page ID #:384




                            UNITED STATES DISTRICT COURT                            JS-6
                            CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES—GENERAL

Case No.     CV 19-10550-DMG (Ex)                                      Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.               Page     6 of 9

Sections 13(c) or (d). Section 13(c) applies “in the event either party defaults in the performance
of its obligations under this Agreement.” See Section 13(c). Plaintiffs do not appear to have
defaulted on any of its obligations under the 2019 OCA before Defendants sent the October 1,
2019 email. Section 13(d) applies “in the event that the [non-terminating] party is criminally
indicted, enjoined, disabled, suspended, prohibited, or otherwise unable to engage in the
securities business. See Section 13(d). No such events have transpired here.

        Moreover, in California, a contract’s meaning must be derived, if possible, from the
whole contract and individual provisions must be interpreted together “in order to give effect to
all provisions” and avoid rendering some meaningless. Maples v. SolarWinds, Inc., 50 F. Supp.
3d 1221, 1228 (N.D. Cal. 2014) (quoting Zalkind v. Ceradyne, Inc., 194 Cal. App. 4th 1010,
1027 (2011)). Even if Section 13(h) did apply here, it would be possible to read sections 13(a),
(b), and (h) as consistent with one another without rendering any of them meaningless. Section
13(a)’s first sentence sets forth an initial 12-month period wherein the pricing schedule is
unchangeable. Section 13(a)’s second sentence and Section 13(b) permit parties to terminate the
agreement in advance of the second contract period (or any further contract periods) at least 60
days in advance. And Section 13(h) provides that, in the event of a qualifying termination, the
terminating party must pay a fee in the amount of however many minimum monthly payments
remain under the current contract period. This reading permits each provision to retain its
meaning. It also supports Plaintiff’s position.

        Defendants also argue that, because its termination of the 2019 OCA was consistent with
Section 13, it was entitled to “impose reasonable limitations upon [Plaintiff’s] activities with
respect to its accounts at ETC.” Opp. at 14; see also Section 13(b). As Plaintiff points out,
however, this argument assumes that Section 13 permitted ETC to terminate the 2019 OCA in
the manner it did. But, as discussed above, Plaintiffs are likely to be able to show that Section 13
allowed no such thing. Defendants’ position also assumes that the fee increases and account
limitations that it has threatened to impose are “reasonable.” Plaintiff’s position is that they are
not. Indeed, this particular disagreement is at the core of the dispute that the parties both appear
willing to arbitrate. While the record before the Court is insufficient to permit a determination at
this stage as to whether Defendants’ restrictions on Plaintiff’s account are “reasonable” as a
matter of law or industry practice, Plaintiff has done enough to raise at least serious questions
going to the merits of that inquiry.

        Defendants also argue that, even if the 2019 OCA remains in effect, Section 5(B) permits
them to “impose position and/or concentration limits on the Account, to restrict trading to
liquidating orders or cash transactions only, or to prohibit certain trading strategies or trading of
certain securities or types of securities.” Opp. at 14-15 (citing Section 5(B)). Plaintiff does not

CV-90                              CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 7 of 9 Page ID #:385




                           UNITED STATES DISTRICT COURT                           JS-6
                           CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

Case No.    CV 19-10550-DMG (Ex)                                     Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.             Page     7 of 9

respond to this argument. See Reply. The 2019 OCA does not limit Section 5(B)’s applicability
to post-termination dealings—it appears to apply to the parties’ relationship at all times. While
none of Section 5(B)’s language allows Defendants to change the agreed-upon pricing schedule,
it arguably permits ETC to cap the equity and trading activity in Plaintiff’s account.
Nonetheless, the record at this stage is inadequate for the Court to determine whether
Defendants’ actions qualify as permissible Section 5(B) limitations. Accordingly, a serious
question going to the merits also exists as to whether Section 5(B) authorizes Defendants’
actions, and whether those actions are consistent with the covenant of good faith and fair dealing
inherent in all contracts. See Steiner v. Thexton, 48 Cal. 4th 411, 419 (2010) (“all contracts
impose a duty of good faith and fair dealing”).

       Plaintiff has therefore done enough to satisfy the first prong of the preliminary injunction
analysis.

B.      Likelihood of Irreparable Injury

        Defendants argue that Plaintiff would not face irreparable harm absent interim injunctive
relief because: (1) Plaintiff has had ample time to deconvert its account to another DTC
Custodian (meaning that Plaintiff’s own delay has caused any harm that it has suffered); and (2)
Plaintiff faces only “incremental” fee increases under Defendant’s new pricing schedule, which
in turn translate to increased operating costs, but not any non-monetary harm.

        Defendants’ own correspondence with Plaintiff undercuts its first argument. As
discussed above, ETC has acknowledged that “deconversions take time and effort.” Bulger
Decl., Ex. 11. Indeed, it appears that Plaintiff’s last deconversion took about nine months to
complete. Bulger Decl. at ¶ 37. Defendants have given Plaintiff far less time than that to
deconvert its account to Citibank. In short, there is no evidence in the record supporting the
position that Plaintiff could have, or should have, been able to accomplish a full deconversion as
of the date of this Order.

        Defendants’ second argument also appears factually untrue. Defendants’ proposed new
price increases reflect exponential, rather than incremental, fee increases. Bulger Decl. at ¶ 28,
Ex. 9 (showing increases ranging from 100% to 2567%). Defendants also threatened to limit
trading in Plaintiff’s account and require Plaintiff to submit “additional deposits.” Bulger Decl.,
Exs. 12, 15. While these harms may appear only monetary on their face, they also affect
Plaintiff’s competitive standing when taken in context. After Defendants’ merger, ETC is now a
subsidiary of Apex, one of Plaintiff’s direct competitors. It is therefore likely that ETC’s forced
fee increases and limitations on Plaintiff’s account will cause Plaintiff to become weaker

CV-90                             CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 8 of 9 Page ID #:386




                           UNITED STATES DISTRICT COURT                            JS-6
                           CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES—GENERAL

Case No.    CV 19-10550-DMG (Ex)                                      Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.              Page     8 of 9

commercial competition for Apex and cause Plaintiff’s customers to reconsider where to take
their business. Because, as the Court noted in its previous Order, the loss of goodwill and
competitive standing constitute irreparable harm, Plaintiff has satisfied this prong. See TRO at 2
(citing Am. Trucking Associations, Inc. v. City of Los Angeles, 559 F.3d 1046, 1058 (9th Cir.
2009)).

C.      Balance of Hardships

        The balance of hardships also favors preliminary injunctive relief. Defendants first argue
that this factor weighs in their favor because ETC properly terminated the 2019 OCA in October.
Opp. at 17. As discussed above, Plaintiff has adequately shown serious questions going to the
merits of that inquiry. They next argue that granting injunctive relief would cause them harm by
guaranteeing that Plaintiffs receive “below market pricing” for the duration of the injunction.
Opp. at 18. But ETC negotiated the pricing schedule in the 2019 OCA. The fact that ETC’s new
management is unhappy that the agreed-upon fees may be below market rates does not make
ETC a victim of its own negotiations and agreement. That is not how contracts work.
Defendants also argue that injunctive relief would “effectively resolve[] the issue in dispute in
favor of Plaintiff without hearing from Defendants.” Id. A preliminary injunction does not
conclusively resolve any issues in this case—it merely maintains the status quo that existed
before Defendants began their efforts to modify the 2019 OCA until the arbitration that both
sides seek can take place. In short, Defendants’ arguments do not persuade the Court to depart
from its previous ruling that the balance of hardships tips sharply in Plaintiff’s favor. See TRO
at 2.

D.      The Public Interest

        Defendants dismiss Plaintiff’s contention that its customers will be harmed by
Defendants’ actions absent injunctive relief by concluding that Plaintiff is only “at risk of having
to (1) pay commercially reasonable prices for its clearing services or (2) stop dragging its feet in
transitioning its account to Citibank.” Opp. at 18. These arguments are unconvincing for the
reasons stated above. Defendants also argue that the public interest counsels against injunctive
relief because Plaintiff’s account poses too much risk for ETC to handle, and that if Plaintiff’s
trades fail, ETC’s customers will suffer. But there is no evidence in the record that Plaintiff’s
trades are in any danger of failing. Indeed, Plaintiff submits evidence that ETC has never
previously been concerned about the viability of Plaintiff’s trades and has never had to draw




CV-90                              CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk KT
Case 2:19-cv-10550-DMG-E Document 28 Filed 12/23/19 Page 9 of 9 Page ID #:387




                                UNITED STATES DISTRICT COURT                                    JS-6
                                CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—GENERAL

Case No.       CV 19-10550-DMG (Ex)                                               Date     December 23, 2019

Title DriveWealth, LLC v. Electronic Transaction Clearing, Inc., et al.                           Page     9 of 9

against the clearing deposit that Plaintiff gave to ETC as a condition of their OCAs.5 Suppl.
Bulger Decl. at ¶¶ 6-8. Because Defendants’ complained-of public interest harm is speculative,
and Plaintiff’s complained-of public interest harm appears concrete and likely, this factor tips in
favor of injunctive relief.

E.      Bond Requirement

       The Court previously ruled that Plaintiff need not post any bond as a condition of
obtaining interim injunctive relief. TRO at 3. Since the parties did not elaborate in their
subsequent briefing on the need (or lack thereof) for a bond, the Court need not disturb its
previous conclusion that a bond is unnecessary.

                                                    IV.
                                                CONCLUSION

         In light of the foregoing, Plaintiff’s MPI is GRANTED. Defendants, and those acting in
concert with them, are hereby enjoined from taking any action that would interfere with
Plaintiff’s right to continue to conduct business under the 2019 OCA’s terms and pricing
schedule during the pendency of FINRA arbitration between the parties over the dispute giving
rise to this action.6 The parties shall act expeditiously to complete the FINRA arbitration.

       Both sides represented at the hearing on this matter that there is no reason not to stay this
action until the FINRA arbitration concludes. Accordingly, this action is hereby STAYED and
placed into inactive status until the completion of arbitration. The parties shall file a Joint Status
Report within 10 days after the conclusion of the FINRA arbitration and notify the Court
whether this action should be reopened and the stay lifted.

IT IS SO ORDERED.




        5
           Defendants point to one recent large trade in Plaintiff’s account wherein an investor purchased $6.6
million in stock in a Brazilian bank. Opp. at 9. Defendants speculate that if that trade fails, ETC will suffer
financial harm. But Defendants present no evidence that the trade is in any danger of failure other than their
counsel’s unsupported assertion that the “DTCC” considers trades of that nature to be “risky.” Id. at 10 n.5.
        6
         This preliminary injunction does not prevent the parties from voluntarily entering into a settlement
agreement or confirming their mutual understanding of the 2019 OCA terms to which they agree.

CV-90                                    CIVIL MINUTES—GENERAL                           Initials of Deputy Clerk KT
